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                                                     EXPERIENCE
 JOHN S. VANDERBOL III

                                               FOUNDER / DIRECTOR
                                                9TEN HOLDINGS INC.
                                             JANUARY 2017 – PRESENT.
                                  Manages intellectual property assets with focus on
          SKILLS
                                       telecommunications / technology assets.
   Serial Entrepreneur
Process Management Expert                    FOUNDER / DIRECTOR
  Expert in Geo-Political                        3P Media Group
      Operations.                             March 2016 – Present.
 Inter. Relations Specialist     Manages mass media assets, conducts research and
           Aviator              development regarding integration of AI technologies.
        Marksman
       Technologist                   CHAIRMAN / CHIEF EXECUTIVE OFFICER
     World Traveler –                               Zfere Holdings Inc.
                                                 June 2010 – August 2014.
  Multi-cultural / linguist
                                  Direct, plan, and implement policies, objectives, or
                                  activities of organization and businesses to ensure
                                    continuing operations, to maximize returns on
                                       investments, and to increase productivity.


                                       CHIEF EXECUTIVE OFFICER / DIRECTOR
                                        IMN Communications / Ariya Networks.
                                              March 1997 – December 2010.
                                   During tenure, the company designed and began
                               deployment of the First OC-768 DWDM standard network
                                 in USA. During construction of contracted networks
                                acquired more than $1 b in parallel assets. Facilitated
                                more than $5.5 B in contracts and obtained more than
                                    $2.7 B in funding commitments for construction
                                                       operations.
